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           EXHIBIT 6
                                                         Case 3:17-cv-00072-NKM-JCH Document 465-6 Filed 04/11/19 Page 2 of 2 Pageid#: 4437




Thomas Ryan I/updates            er s J1t"             view
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We are renting a 15 seat van to go to Charlottesville, on August 12th for the Unite The Right evenl This event is a ..BIG DEAL.. and offers the chance to lin k up Vanguard guys from acaoss the nation

The event itseH is on Saturday, the van crew will be leaving Thursday, and getting bade in Texas Monday If you are somewhere along the way, and would like to be pidced up, let us know

Due to fue'I costs and insurance for the van itself, the total lravel budget for each rider will be around S150 to property reimburse our guys for being nice enough to organize this That's about $400 cheaper than a plane ticket, and ~ou get to hang with the boys. II does not include food, or h
otels, although that could be covered by others.

=Make your reservations for seats now and conlad me lo, more details.=


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Thomas Ryan #updates         -                ~"1) •   view·

@everyone Your book discussion wiU be scheduled by your State Commander for tomorrow afternoon/evening. When tomorrow is up to him, find out when~ is ASAf' nyou do not know

There will be another discussion In this server for all those without a State Commander, that will occur at 7 p .m. Central.

Thomas Ryan #updates                                   view

@everyone If your state chat is inactive or you do not have one your local members are few or inactive ask me to create a state ch-annel for you in this server and I can help faciUtate growth
